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                                           Exhibit C

        Reply in Support of the States’ Motion for a § 705 Stay and Preliminary Injunction
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